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                         EXHIBIT B
FILED: ERIE COUNTY CLERK 02/20/2025 12:07 PM                                                INDEX NO. 801035/2025
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                                                                                    RECEIVED   6      02/20/2025




         STATE OF NEW YORK
         SUPREME COURT : COUNTY OF ERIE
         __________________________________________
                                                   |
         D’YOUVILLE COLLEGE a/k/a                  |
         D’YOUVILLE UNIVERSITY,                    |
               320 Porter Ave.                     |
               Buffalo, NY 14201                   |
                                                   |                         SUMMONS
                                       Plaintiff,  |
         -v-                                       |
                                                   |                   Index No. 801035/2025
         HARTFORD FIRE INSURANCE COMPANY,          |
               One Hartford Plaza                  |
               Hartford, CT 06155-0001             |
                                                   |
                                       Defendant.  |
         __________________________________________|

         TO THE ABOVE NAMED DEFENDANT:

                 YOU ARE HEREBY SUMMONED AND REQUIRED to appear in this action and to
         serve upon Plaintiffs’ attorney, at the address stated below, a written Answer to the attached
         Complaint. If this Summons is served upon you within New York State by personal service, you
         must respond within TWENTY (20) days after service, not including the day of service. If this
         Summons is not personally delivered to you within New York State, you must respond within
         THIRTY (30) days after service is completed, as provided by law. If you do not respond to the
         attached Complaint within the applicable time limitation stated above, a judgment will be entered
         against you by default for the relief demanded in the Complaint, together with the costs and
         disbursements of this action, without further notice to you.
                 Plaintiffs designate the County of Erie as the place of trial because of the residence of
         Plaintiff and the location of the Property at issue.

         Dated:   Buffalo, New York
                  February 20, 2025
                                              DUKE HOLZMAN PHOTIADIS & GRESENS LLP

                                              By:     /s/ Thomas D. Lyons
                                                     ___________________________
                                                     Christopher M. Berloth, Esq.
                                                     Thomas D. Lyons, Esq.
                                                     Attorneys for Plaintiffs
                                                     701 Seneca Street, Suite 750
                                                     Buffalo, New York 14210
                                                     Tel: (716) 855-1111
                                                     cberloth@dukeholzman.com
                                                     tlyons@dukeholzman.com




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         STATE OF NEW YORK
         SUPREME COURT : COUNTY OF ERIE
         __________________________________________
                                                   |
         D’YOUVILLE COLLEGE a/k/a                  |
         D’YOUVILLE UNIVERSITY,                    |
               320 Porter Ave.                     |
               Buffalo, NY 14201                   |
                                                   |                        COMPLAINT
                                       Plaintiff,  |
         -v-                                       |
                                                   |                    Index No. 801035/2025
         HARTFORD FIRE INSURANCE COMPANY,          |
               One Hartford Plaza                  |
               Hartford, CT 06155-0001             |
                                                   |
                                       Defendant.  |
         __________________________________________|

                Plaintiff D’Youville College a/k/a D’Youville University (“Plaintiff”), by and through its

         attorneys, Duke Holzman Photiadis & Gresens LLP, as and for its Complaint against Hartford Fire

         Insurance Company (“Hartford”), state and allege as follows:

                                                      PARTIES

                1.     Plaintiff is a New York not-for-profit corporation whose principal office(s) are

         located in Erie County, State of New York.

                2.     Plaintiffs, at all relevant times, owned real property located at 320 Porter Avenue.

         #330, Buffalo, New York; 585-593 Prospect Avenue, Buffalo, New York; and 591-605 Niagara

         Street, Buffalo, New York (collectively the “Property”).

                3.     Upon information and belief, Hartford was and is an insurance company organized

         and duly authorized to transact insurance business in the State of New York.




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                                           JURISDICTION AND VENUE

                4.       This action is brought in the County of Erie, pursuant to CPLR § 503(a), based

         upon (a) Plaintiff’s place of business and (b) the location of the Property, wherein a substantial

         part of the events giving rise to the claims at issue occurred.

                                                        FACTS

                5.      On or about May 5, 2022, Hartford issued Plaintiff a commercial insurance policy

         for the Property bearing the number 01UUNFH8261 06/01/2022 - 06/01/2023 (the “Policy”).

                6.      The Policy was issued in consideration of a premium which was paid to, and

         received and retained by, Hartford.

                7.      The Policy provides insurance coverage for various causes of loss or damage to the

         Property, and Plaintiff’s business personal property.

                8.      On or about December 25, 2022, the Property was damaged by water as a result of

         frozen plumbing (the “Loss”).

                9.      The Loss damaged Plaintiff’s Property, Plaintiff’s business personal property

         located inside the building, and/or caused an interruption in Plaintiff’s business operations.

                10.     Plaintiff retained the services of National Fire Adjustment Co., Inc. to serve as

         Plaintiff’s public adjuster with respect to the Loss and the damages resulting therefrom.

                11.     Upon information and belief, Plaintiff’s damages resulting from the Loss total more

         than $5,000,000.00.

                12.     Plaintiff promptly reported the Loss to Hartford.

                13.     At all relevant times after the Loss, Hartford had access to the Property, with full

         opportunity to inspect it.




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                14.     Plaintiff timely complied with all requests made by Hartford and satisfied all

         conditions necessary for coverage under the Policy.

                15.     Hartford has acknowledged the existence of coverage for the Loss.

                16.     However, Hartford has failed and/or refused to issue full and complete payment for

         all of Plaintiff’s damages resulting from the Loss.

                                                FIRST CAUSE OF ACTION
                                                BREACH OF CONTRACT

                17.     Plaintiff repeats and re-allege the preceding paragraphs as if fully set forth and

         incorporated herein.

                18.     Hartford has a duty under the Policy to provide coverage for damages arising from

         the Loss, including without limitation: Actual Cash Value and Replacement Cost Benefits.

                19.     Plaintiff duly notified Hartford of its claims for damages arising from the Loss.

                20.     Hartford has failed and refused to make full and complete payments to Plaintiff for

         all of Plaintiff’s damages resulting from the Loss pursuant to the terms of the Policy, which

         constitutes a breach of the Policy.

                21.     Hartford’s conduct has been dilatory and unreasonable.

                22.     Hartford’s conduct has unreasonably obstructed and prevented Plaintiff from

         receiving prompt payment for the insurance benefits to which it is entitled.

                23.     Plaintiff has been damaged by Hartford’s wrongful conduct, including without

         limitation, suffering extra-contractual consequential damages as a result of Hartford’s failure to

         act promptly and breach of its duty and obligation of good faith and fair dealing.

                24.     As a result of Hartford’s breach, Plaintiff has been damaged and is entitled to

         judgment against Hartford in an amount to be determined at trial, but upon information and belief,

         not less than $5,000,000.00, plus interest.

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                  WHEREFORE, Plaintiff respectfully requests that this Court enter judgment against

         Defendant, and enter an Order granting judgment against Hartford in an amount to be determined

         at trial, but upon information and belief, not less than $5,000,000.00, plus interest; and granting

         such other and further relief as the Court deems just and proper.


         Dated:    Buffalo, New York
                   February 20, 2025

                                               DUKE HOLZMAN PHOTIADIS & GRESENS LLP

                                               By:     /s/ Thomas D. Lyons
                                                      ___________________________
                                                      Christopher M. Berloth, Esq.
                                                      Thomas D. Lyons, Esq.
                                                      Attorneys for Plaintiffs
                                                      701 Seneca Street, Suite 750
                                                      Buffalo, New York 14210
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                                                      tlyons@dukeholzman.com




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